
PER CURIAM.
The appellant City of Jacksonville appeals from a final judgment in a declaratory action suit ordering it to pay appellee, an employee, the sum of $1,691.92, said amount being the amount paid appellee by appellant’s compensation carrier as a lump sum settlement for a permanent partial disability.
Our examination of the record and consideration of the briefs and oral arguments submitted by the parties indicate that no reversible error was committed in arriving at the judgment appealed. Schel v. City of Miami, 193 So.2d 170 (Fla.1966). Accordingly, the judgment appealed herein is affirmed.
SPECTOR, C. J., and WIGGINTON and JOHNSON, JJ., concur.
